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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                                 Case No. 18-cr-90-RWP


 United States of America,

                         Plaintiff,             DEFENDANT’S MEMORANDUM OF
                                                 LAW SUPPORTING HIS MOTION
 v.                                             TO EXCLUDE ATTORNEY-CLIENT
                                                  PRIVILEGED INFORMATION
 Robert Phillip Ivers,

                         Defendant.


                                      INTRODUCTION

       The charges against Defendant Robert Phillip Ivers are based on a single phone call

between Mr. Ivers and his attorney, Witness A. That communication is attorney-client

privileged. Mr. Ivers claims his privilege over all communications with Witness A. No

exception to the privilege applies. Mr. Ivers respectfully requests that the Court (1) exclude

all attorney-client privileged communications between him and Witness A; and (2)

preclude Witness A from testifying to those communications.

                                          FACTS

       Witness A is licensed to practice law in the State of Minnesota. Witness A was a

volunteer attorney with the Pro Se Project, and was assigned to assist Mr. Ivers with refiling

a civil lawsuit dismissed by a federal judge of this district. On or about February 27, 2018,

Witness A called Mr. Ivers to discuss refiling the civil lawsuit. While the two were

discussing the case, Mr. Ivers expressed his dissatisfaction with the judge who originally

dismissed his lawsuit. This communication was made in confidence and solely for the
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purpose of securing Witness A’s legal services. Mr. Ivers did not seek Witness A’s advice

in furtherance of the commission of a crime or fraud. Mr. Ivers has not waived his privilege.

Mr. Ivers asserts his privilege over all communications with Witness A.

                                       ARGUMENT

       “In the absence of a relevant federal rule, statute, or constitutional provision, federal

common law governs questions of privilege in federal criminal proceedings.” United States

v. Yielding, 657 F.3d 688, 706–707 (8th Cir. 2011) (citing Fed. R. Evid. 501; United States

v. Espino, 317 F.3d 788, 795 (8th Cir. 2003)). The attorney-client privilege is “the oldest

of the privileges for confidential communications known to the common law.” Upjohn Co.

v. United States, 449 U.S. 383, 389 (1981) (citation omitted). “This privilege protects

confidential communications between a client and her attorney made for the purpose of

facilitating the rendition of legal services to the client.” Yielding, 657 F.3d at 707 (citing

United States v. Horvath, 731 F.2d 557, 561 (8th Cir. 1984)). “The privilege belongs to

and exists solely for the benefit of the client.” Id. (citing Henderson v. United States, 815

F.2d 1189, 1192 (8th Cir. 1987)). “Generally, it is well established under common law that

confidential communications between an attorney and a client are privileged and not

subject to disclosure absent consent of the client.” Horvath, 731 F.2d at 562 (citing In re

Berkley & Co., Inc., 629 F.2d 548, 552 (8th Cir. 1980)).

       The party invoking the attorney-client privilege has the burden of establishing that

the privilege applies. Hollins v. Powell, 773 F.2d 191, 196 (8th Cir. 1985). “The attorney-

client privilege extends only to confidential communications made for the purpose of

facilitating the rendition of legal services to the client.” Horvath, 731 F.2d at 561; see

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Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 601–602 (8th Cir. 1977) (discussing the

elements of the attorney-client privilege). An attorney-client communication is not

privileged “when the lawyer is consulted to further a continuing or contemplated criminal

or fraudulent scheme[.]” Horvath, 731 F.2d at 562 (emphasis added) (citing In re Murphy,

560 F.2d 326, 337 (8th Cir. 1977)). “To overcome a claim of privilege using the ‘crime-

fraud’ exception, the government must merely make a prima facie showing that the legal

advice has been obtained in furtherance of an illegal or fraudulent activity.” Id. (citations

omitted).

        Witness A is licensed to practice law in the State of Minnesota. The Pro Se Project

assigned Witness A to represent Mr. Ivers in a civil lawsuit. There was an attorney-client

relationship between them. On February 27, 2018, Witness A called Mr. Ivers with the sole

purpose of discussing the civil lawsuit. The phone call was made in confidence for the

purpose of Mr. Ivers obtaining legal services from Witness A. The entire phone call is

attorney-client privileged. Mr. Ivers claims the privilege over all communications with

Witness A. He has not waived that privilege. Witness A may not waive the privilege for

him.

        During the phone call with Witness A, Mr. Ivers may have expressed anger or

dissatisfaction with the judge who dismissed his civil lawsuit. Mr. Ivers, like every other

American, is free to express his frustration with the legal system. That is his First

Amendment right. Witness A, like any other attorney, is free to disagree with a client’s

opinion. That is Witness A’s right. But Witness A cannot waive Mr. Ivers’ privilege over



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a privileged communication without his consent. The privilege belongs exclusively to

Mr. Ivers.

       The crime-fraud exception does not apply to any communication between Mr. Ivers

and Witness A. There is no allegation that Mr. Ivers sought or obtained Witness A’s legal

advice in furtherance of a crime or fraud. Mr. Ivers was simply venting about an adverse

court ruling. His allegedly threatening statement made to his attorney, Witness A, is

shielded by the attorney-client privilege. See, e.g., In re Grand Jury Investigation, 902

N.E.2d 929 (Mass. 2009) (attorney-client privilege protected communications by client to

attorney threatening to harm judge after adverse ruling, and crime-fraud exception did not

apply); State v. Boatwright, 401 P.3d 657 (Kan. Ct. App. 2017) (“client's threat to kill his

ex-fiancée, made during communications between client and attorney while discussing a

plea offer, was covered by the attorney-client privilege.”). The Government cannot satisfy

its burden.

       The entire February 27, 2018 communication between Mr. Ivers and Witness A is

privileged. All communications between Mr. Ivers and Witness A must be excluded, and

Witness must be precluded from testifying to any privileged communications. Witness A

may not be compelled to testify over Mr. Ivers’ objection.




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                                   CONCLUSION

      For the foregoing reasons, Mr. Ivers respectfully requests that the Court grant his

motion, exclude all attorney-client privileged communications between him and Witness

A, and preclude Witness A from testifying to any attorney-client privileged

communications.



                                               KELLEY, WOLTER & SCOTT, P.A.



Dated: May 18, 2017                            By: s/Brett D. Kelley______________
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